          Case 2:25-cv-00848-TL           Document 118-1      Filed 07/18/25        Page 1 of 5




 1                                                                         The Honorable Tana Lin
 2

 3

 4

 5

 6

 7

 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
10   STATE OF WASHINGTON, et al.,                         NO. 2:25-cv-00848-TL
11                              PLAINTIFFS,               ORDER GRANTING STIPULATED
                                                          MOTION FOR PROPOSED BRIEFING
12          v.                                            SCHEDULE AND TO EXTEND
                                                          DISCOVERY DEADLINES
13   U.S. DEPARTMENT OF
     TRANSPORTATION, et al.,                              [PROPOSED]
14
                                DEFENDANTS.               NOTE ON MOTION CALENDAR:
15                                                        JULY 18, 2025
16
            The Court, having fully considered the parties Stipulated Motion for Proposed Briefing
17
     Schedule and to Extend Discovery Deadlines, HEREBY ORDERS that the Motion is
18
     GRANTED. The Court SETS the following dates for briefing dispositive motions:
19

20               Deadline to file any dispositive
                 cross-motions:                       8/8/2025
21
                 Deadline to file any responses to    8/27/2025
22               dispositive cross-motion:
23

24          To the extent there are unresolved claims following the Court’s ruling on all dispositive

25   motions, the parties shall confer and within 30 Days of the Court’s rulinajg, propose to the

26

     ORDER GRANTING STIPULATED                        1              ATTORNEY GENERAL OF WASHINGTON
                                                                         Environmental Protection Division
     MOTION FOR PROPOSED BRIEFING                                          800 Fifth Avenue STE 2000
     SCHEDULE AND TO EXTEND                                                     Seattle, WA 98104
                                                                                 (206) 464-7744
     DISCOVERY DEADLINES [PROPOSED]
     No. 2:25-cv-00848-TL
          Case 2:25-cv-00848-TL           Document 118-1        Filed 07/18/25        Page 2 of 5




 1   Court dates for the Fed. R. Civ. P. 26(f ) conference, initial disclosures pursuant to Fed. R. Civ.
 2   P. 26(a)(1), and joint status report and discovery plan pursuant to Fed. R. Civ. P. 26(f).
 3

 4           DATED this          day of                      2025.
 5

 6                                                  THE HONORABLE TANA LIN
                                                    UNITED STATES DISTRICT JUDGE
 7
     Presented by:
 8
     NICHOLAS W. BROWN
 9   Attorney General for the State of Washington
10   s/ Caitlin M. Soden
     CAITLIN M. SODEN, WSBA # 55457
11   LEAH A. BROWN, WSBA # 45803
     TERA HEINTZ, WSBA #54921
12   CRISTINA SEPE, WSBA #53609
     Assistant Attorneys General
13   800 Fifth Avenue, Suite 2000
     Seattle, Washington 98104
14   206-464-7744
     caitlin.soden@atg.wa.gov
15   leah.brown@atg.wa.gov
     tera.heintz@atg.wa.gov
16   cristina.sepe@atg.wa.gov
17   Attorneys for the State of Washington
18   ROB BONTA                                          PHILIP J. WEISER
     Attorney General for the State of California       Attorney General for the State of Colorado
19
     By: /s/ Theodore A. McCombs                        By: /s/ Carrie Noteboom
20   THEODORE A. MCCOMBS, SBN 316243                    CARRIE NOTEBOOM, CBA # 52910
     Deputy Attorney General                            Assistant Deputy Attorney General
21   ROBERT SWANSON, SBN 295159                         DAVID MOSKOWITZ, CBA # 61336
     Acting Supervising Deputy Attorney General         Deputy Solicitor General
22   NATALIE COLLINS, SBN 338348                        JESSICA L. LOWREY, CBA # 45158
     ELIZABETH JONES, SBN 326118                        First Assistant Attorney General
23   ELIZABETH SONG, SBN 326616                         SARAH WEISS, NYSBA # 4898805
     Deputy Attorneys General                           Senior Assistant Attorney General
24   (619) 738-9003                                     Ralph L. Carr Judicial Center
     theodore.mccombs@doj.ca.gov                        1300 Broadway, 10th Floor
25                                                      Denver, CO 80203
     Attorneys for the State of California              (720) 508-6000
26                                                      carrie.noteboom@coag.gov

     ORDER GRANTING STIPULATED                         2               ATTORNEY GENERAL OF WASHINGTON
                                                                           Environmental Protection Division
     MOTION FOR PROPOSED BRIEFING                                            800 Fifth Avenue STE 2000
     SCHEDULE AND TO EXTEND                                                       Seattle, WA 98104
                                                                                   (206) 464-7744
     DISCOVERY DEADLINES [PROPOSED]
     No. 2:25-cv-00848-TL
          Case 2:25-cv-00848-TL           Document 118-1   Filed 07/18/25        Page 3 of 5




 1                                                  david.moskowitz@coag.gov
                                                    jessica.lowrey@coag.gov
 2                                                  sarah.weiss@coag.gov
                                                    FAX: (720) 508-6040
 3
                                                    Attorneys for the State of Colorado
 4
     KRISTIN K. MAYES                               KATHLEEN JENNINGS
 5   Attorney General for the State of Arizona      Attorney General of the State of Delaware
 6   By: /s/ Lauren Watford                         By: /s/ Vanessa L. Kassab
     LAUREN WATFORD, SBA # 037346                   IAN R. LISTON, DSBA # 5507
 7   Assistant Attorney General                     Director of Impact Litigation
     Arizona Attorney General’s Office              RALPH K. DURSTEIN III, DSBA # 0912
 8   2005 North Central Avenue                      VANESSA L. KASSAB, DSBA # 5612
     Phoenix, Arizona 85004                         Deputy Attorneys General
 9   (602) 542-3333                                 Delaware Department of Justice
     Lauren.Watford@azag.gov                        820 N. French Street
10                                                  Wilmington, DE 19801
     Attorneys for the State of Arizona             (302) 683-8899
11                                                  vanessa.kassab@delaware.gov
12                                                  Attorneys for the State of Delaware
13
     BRIAN L. SCHWALB                               ANNE E. LOPEZ
14   Attorney General                               Attorney General for the State of Hawaiʻi
15   By: /s/ Lauren Cullum                          By: /s/ Kalikoʻonālani D. Fernandes
     LAUREN CULLUM, DCB # 90009436                  DAVID D. DAY, HSBA # 9427
16   Special Assistant Attorney General             Special Assistant to the Attorney General
     Office of the Attorney General                 KALIKOʻONĀLANI D. FERNANDES,
17   for the District of Columbia                   HSBA # 9964
     400 6th Street, N.W., 10th Floor               Solicitor General
18   Washington, D.C. 20001                         425 Queen Street
     Email: lauren.cullum@dc.gov                    Honolulu, HI 96813
19                                                  (808) 586-1360
     Attorneys for the District of Columbia         david.d.day@hawaii.gov
20                                                  kaliko.d.fernandes@hawaii.gov
21                                                  Attorneys for the State of Hawaiʻi
22
     KWAME RAOUL                                    ANTHONY G. BROWN
23   Attorney General for the State of Illinois     Attorney General for the State of Maryland
24   By: /s/ Jason E. James                         By: /s/ Steven J. Goldstein
     JASON E. JAMES, ISBA ARDC # 6300100            STEVEN J. GOLDSTEIN, MSBA #
25   Assistant Attorney General                     1612130206
     Office of the Attorney General                 Assistant Attorney General
26   Environmental Bureau                           Office of the Attorney General of Maryland

     ORDER GRANTING STIPULATED                      3             ATTORNEY GENERAL OF WASHINGTON
                                                                      Environmental Protection Division
     MOTION FOR PROPOSED BRIEFING                                       800 Fifth Avenue STE 2000
     SCHEDULE AND TO EXTEND                                                  Seattle, WA 98104
                                                                              (206) 464-7744
     DISCOVERY DEADLINES [PROPOSED]
     No. 2:25-cv-00848-TL
          Case 2:25-cv-00848-TL            Document 118-1   Filed 07/18/25        Page 4 of 5




 1   201 W. Pointe Drive, Suite 7                    200 Saint Paul Place, 20th Floor
     Belleville, IL 62226                            Baltimore, MD 21202
 2   Phone: (217) 843-0322                           (410) 576-6414
     Email: jason.james@ilag.gov                     sgoldstein@oag.state.md.us
 3
     Attorneys for the State of Illinois             Attorneys for the State of Maryland
 4
     KEITH ELLISON                                   MATTHEW J. PLATKIN
 5   Attorney General for the State of Minnesota     Attorney General for the State of New Jersey
 6   By: /s/ Peter N. Surdo                          By: /s/ Morgan L. Rice
     PETER N. SURDO, MSBA # 339015                   MORGAN L. RICE, NJSBA Bar #
 7   Special Assistant Attorney General              018782012
     Environmental and Natural Resources             JUSTINE M. LONGA, NJSBA Bar #
 8   Division                                        305062019
     445 Minnesota Street, Suite 1800                Deputy Attorneys General
 9   Saint Paul, Minnesota 55101                     RACHEL U. DOOBRAJH, NJSBA #
     651-757-1061                                    020952002
10   peter.surdo@ag.state.mn.us                      Assistant Attorney General
                                                     Office of the Attorney General
11   Attorneys for the State of Minnesota            25 Market Street
                                                     Trenton, NJ 08625
12                                                   (609) 696-4527
                                                     Morgan.Rice@law.njoag.gov
13                                                   Justine.Longa@law.njoag.gov
                                                     Rachel.Doobrajh@law.njoag.gov
14
                                                     Attorneys for the State of New Jersey
15
     RAÚL TORREZ                                  LETITIA JAMES
16   Attorney General for the State of New Mexico Attorney General of the State of New York
17   By: /s/ Amy Senier                              By: /s/ Kyle Burns
     AMY SENIER, MBA # 672912                        KYLE BURNS, NYSBA # 5589940
18   Senior Counsel                                  Environmental Protection Bureau
     New Mexico Department of Justice                28 Liberty Street
19   P.O. Drawer 1508                                New York, NY 10005
     Santa Fe, NM 87504-1508                         (212) 416-8451
20   505-490-4060
     asenier@nmdoj.gov                               Attorneys for the State of New York
21
     Attorneys for the State of New Mexico
22

23   DAN RAYFIELD                                    PETER F. NERONHA
     Attorney General of the State of Oregon         Attorney General of Rhode Island
24
     By: /s/ Sara Van Loh                            By: /s/ Nicholas M. Vaz
25   SARA VAN LOH OSB # 044398                       NICHOLAS M. VAZ, RIBA # 9501
     Senior Assistant Attorney General               Special Assistant Attorney General
26   100 SW Market Street                            Office of the Attorney General

     ORDER GRANTING STIPULATED                       4             ATTORNEY GENERAL OF WASHINGTON
                                                                       Environmental Protection Division
     MOTION FOR PROPOSED BRIEFING                                        800 Fifth Avenue STE 2000
     SCHEDULE AND TO EXTEND                                                   Seattle, WA 98104
                                                                               (206) 464-7744
     DISCOVERY DEADLINES [PROPOSED]
     No. 2:25-cv-00848-TL
          Case 2:25-cv-00848-TL         Document 118-1   Filed 07/18/25        Page 5 of 5




 1   Portland, Oregon 97201                       Environmental and Energy Unit
     Tel (971) 673-1880                           150 South Main Street
 2   Fax (971) 673-5000                           Providence, Rhode Island 02903
     Sara.VanLoh@doj.oregon.gov                   (401) 274-4400 ext. 2297
 3                                                nvaz@riag.ri.gov
     Attorneys for State of Oregon
 4                                                Attorneys for State of Rhode Island
     CHARITY R. CLARK                             JOSHUA L. KAUL
 5   Attorney General of the State of Vermont     Attorney General for the State of Wisconsin
 6   By: /s/ Jonathan T. Rose                     By: /s/ Frances R. Colbert
     JONATHAN T. ROSE, VBA # 4415                 FRANCES R. COLBERT, WI SBN #
 7   Solicitor General                            1050435 *
     Office of the Vermont Attorney General       Assistant Attorney General
 8   109 State Street                             Public Protection Unit
     Montpelier, VT 05609                         17 West Main Street
 9   (802) 828-3171                               Madison, Wisconsin 53703
     Jonathan.rose@vermont.gov                    608-266-9595
10                                                Frances.Colbert@wisdoj.gov
     Attorneys for Plaintiff State of Vermont     *Pro hac vice application pending
11
                                                  Attorneys for Plaintiff State of Wisconsin
12

13                                                BRETT A. SHUMATE
                                                  Assistant Attorney General
14                                                Civil Division
15                                                JOSEPH E. BORSON
                                                  Assistant Branch Director
16                                                Federal Programs Branch
17                                                /s/ Heidy L. Gonzalez
                                                  HEIDY L. GONZALEZ
18                                                (FL Bar No. 1025003)
                                                  Trial Attorney
19                                                U.S. Department of Justice
                                                  Civil Division, Federal Programs Branch
20                                                1100 L Street, N.W.
                                                  Washington, DC 20005
21                                                Tel. (202) 598-7409
                                                  heidy.gonzalez@usdoj.gov
22
                                                  Attorneys for Defendants
23

24

25

26

     ORDER GRANTING STIPULATED                    5             ATTORNEY GENERAL OF WASHINGTON
                                                                    Environmental Protection Division
     MOTION FOR PROPOSED BRIEFING                                     800 Fifth Avenue STE 2000
     SCHEDULE AND TO EXTEND                                                Seattle, WA 98104
                                                                            (206) 464-7744
     DISCOVERY DEADLINES [PROPOSED]
     No. 2:25-cv-00848-TL
